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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

 CHIP GANASSI RACING, LLC,                     )
                                               )
                           Plaintiff,          )
                                               )
                      v.                       )     No. 1:22-cv-01514-RLY-DML
                                               )
 ALEX PALOU MONTALBO,                          )
 ALPA RACING, SL,                              )
                                               )
                           Defendants.         )

                           Order on Motion to Seal (Dkt. 8)

       The court GRANTS the defendants' motion (Dkt. 8) to seal. The plaintiff has

 filed a notice of dismissal with prejudice and seeks to maintain certain information

 under seal. None of the information filed under sealed underlies any decision by the

 court. The court has not addressed any disputed matter and will not be doing so in

 light of the dismissal at this early juncture. Because no party is seeking to seal

 information that underlies or has informed a ruling by the court or has the

 possibility to do so, the court may more liberally allow sensitive information to be

 sealed. See Bond v. Utreras, 585 F.3d 1061, 1075 (7th Cir. 2009) (materials that

 "influence or underpin" a decision by the court are presumptively open to public

 inspection). The court accepts plaintiff's representations regarding the continued

 commercial sensitivity of certain information revealed in its complaint and

 accompanying exhibits and the plaintiff's acknowledgment that other information

 within the documents should not be sealed.
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       The Clerk is directed to MAINTAIN UNDER SEAL the documents at Dkt. 6

 (State Court Record) and Dkt. 7 (Operative Complaint with exhibits). The court

 notes that redacted versions have been filed at Dkts. 34-1 and 34-2.

       So ORDERED.


                                        ____________________________________
       Dated: October 4, 2022
                                           Debra McVicker Lynch
                                           United States Magistrate Judge
                                           Southern District of Indiana




 Distribution:

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